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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

*

B.N.S., A MINOR CHILD BY HER PARENTS
AND NEXT FRIENDS CHRISTINE AND *
BRIAN STEWART,

PLAINTIFF,

Vv. Case No. 17-cv-2670

VICTOR BRITO, CHIEF OF POLICE,
HAGERSTOWN POLICE DEPARTMENT,
ET AL.,

DEFENDANTS.

* * * * * * *

AFFIDAVIT

Lieutenant William Wright makes the following averments under the penalties of perjury

and upon personal knowledge:

1. I am a municipal police officer for the City of Hagerstown and have been a sworn

member of the City of Hagerstown Police Department for approximately 35 years.

2, My current rank is Lieutenant and IJ serve as the Internal Affairs Division
Commander.

3, I am deemed an official custodian of the City of Hagerstown Police Department’s
records under Maryland’s Public Information Act. The documents and videos attached to
Defendants’ Motion to Dismiss or, alternatively, for Summary Judgment are true and correct
copies of the originals and the originals were prepared in the regular course of business of the

City of Hagerstown Police Department and it was in the Police Department’s regular course of

Exhibit 11
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business to prepare such records, The records were prepared on the dates and times indicated
therein.
4. Your Affiant says no more.

I solemnly affirm under the penalties of perjury and upon personal knowledge that the
contents of the aforegoing paper are true and correct.

  

Dated: December 21, 2017

 

William Wright
